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EXHIBIT “B”
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BALTIMORE LIFE

Flexible Premium

Adjustable Life Policy

This policy insures the life of the Insured. It
also gives important benefits to you, the policy
Owner. The Baltimore Life Insurance Company
(we) will pay the death benefit to the
Beneficiary when we receive proof of the
Insured's death. We will pay the surrender
value of this policy, if any, to the Owner, if
living, on the Maturity Date.

This policy is a legal contract between you and
us. Please read it carefully.

TAKE A 20 DAY FREE LOOK. YOU CAN
RETURN THIS POLICY TO THE AGENT
WHO SOLD IT TO YOU OR TO OUR HOME
OFFICE WITHIN 20 DAYS AFTER YOU
RECEIVE IT. IF YOU DO, WE'LL REFUND
ANY PREMIUM PAID. THE POLICY WILL
THEN BE TREATED AS IF IT WERE NEVER
ISSUED.

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SPECIMEN

This is a Flexible Premium Adjustable Life
Insurance policy. Insurance is payable at the
Insured's death. Premiums are payable during
the life of the Insured prior to the maturity date.
This policy is nonparticipating and is not
eligible to share in dividends. Automatic cost
of living increases occur every two years but
are limited to the later of age 56 or the fifth
Policy anniversary.

Lp fox

President
Secretary

The Baltimore Life Insurance Company
10075 Red Run Bivd.

Owings Mills, Maryland 21117-4871
1-800-628-5433

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Policy Guide

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TABLE OF CASH VALUE PERCENTAGES

Age at Percent of Age at Percent of Age at Percent of Age at Percent of

Death Cash Value Death Cash Value Death Cash Value Death Cash Value
0-40 250 50 185 60 130 70 115
41 243 51 178 61 128 71 113
42 236 52 171 62 126 72 111
43 229 53 164 63 124 73 109
44 222 54 157 64 122 74 107
45 215 55 150 65 120 75-90 105
46 209 56 146 66 119 91 104
47 203 57 142 67 118 92 103
48 197 58 138 68 117 93 102
49 191 59 134 69 116 94 101

95 & later 100

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BASIC POLICY FACTS

This section gives important information about your policy.

This policy is the entire agreement between you and us. The policy includes the attached copy of
the application and any attached riders or endorsements.

Policy date is the date this policy goes into effect. Policy months and years are measured from the
policy date. A policy anniversary occurs each year on the policy date. A monthly anniversary day
occurs each month on the day shown on the Policy Data Page.

In this policy, age means actual age on the Insured's last birthday. /ssue age is the age of the
Insured on the policy date.

Authority to Modify Policy. All agreements made by us must be signed by our President, a
Vice President, the Secretary, or the Actuary. No other person, including an insurance agent, can:

° change any of this policy's terms;
e extend the time for paying premiums; or
° make any agreement binding on us.

This policy provides insurance coverage on the life of the Insured whose name is on the Policy Data
Page.

The Owner. If the insured is 18 years of age or older, he or she will be the Owner of this policy
unless the application names another Owner. If the Insured is less than age 18, the Owner will be
named in the application. The Insured will become the Owner at age 18 unless the application
designates the Owner to be permanent.

You can name a contingent owner for the policy. While this policy is in effect, unless otherwise
provided, you as the owner have all the rights in this policy. If you die while this policy is in effect, the
contingent owner is the new owner. If there is no contingent owner, your estate becomes the new
owner.

Maturity Date

The Maturity Date for this policy is shown on the Policy Data Page. The surrender value (see Cash
Value Benefits for You) will be paid to you when this policy ends on the Maturity Date. Coverage
will end before the Maturity Date shown if the total premiums paid plus the interest credited are
insufficient to continue coverage to that date.

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Effective Date of Coverage
The effective date of coverage for the Insured under this policy will be:

e the Policy Date for all coverage in the original application.

e the Monthly Anniversary Day following the approval by us of any increase in or addition to
coverage.

Termination

This policy will end when the first of the following occurs:
® you request to end the policy.
e the Insured dies.
e the policy matures.

The Beneficiary. The Beneficiary is the person entitled to receive the death benefit when the
Insured dies. The Beneficiary is named in the application unless changed. See How to Change The
Owner or Beneficiary.

We'll pay the death benefit to the Beneficiary if living at the Insured's death. If the primary Beneficiary
has died, the death benefit will be paid to any contingent Beneficiary. If there is no surviving
Beneficiary, we'll pay the estate of the Insured.

You may name more than one person as primary Beneficiary or contingent Beneficiary. In that case,
we will assume the death benefit is to be paid in equal shares to the surviving primary Beneficiaries.
If there are no surviving primary Beneficiaries, we'll pay in equal shares to the surviving contingent
Beneficiaries. You can specify other than equal shares.

If the Beneficiary dies simultaneously with or within fifteen days after the death of the Insured, we'll
pay the death benefit as if the Beneficiary died before the Insured. However, we will not be
responsible for any payment we make before we are notified of the Beneficiary's death.

The Irrevocable Beneficiary. One or more irrevocable Beneficiaries may be named. If any
irrevocable Beneficiary is named, you cannot change the Beneficiary or assign the policy without his
or her consent.

How to Change The Owner or Beneficiary

You may change the Owner. If you are not the Insured, you may also designate or change the
contingent Owner. If the Insured is under age 18, you may change the permanent ownership
designation.

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Unless the Beneficiary is irrevocable, you can change the Beneficiary while the Insured is alive. A
request to change must be in writing on a form satisfactory to us and recorded at our Home Office.
We may require the policy to note the change on it. Once the change is recorded by us, it will take
effect as of the date the request was signed. We will not be responsible for the validity of the change
or any payment made or other action taken by us before we record the change at our Home Office.

Assigning the Policy
You can assign this policy. You will need the consent of all irrevocable Beneficiaries. An assignment
does not change the ownership. We will not be responsible for the validity of the assignment or any

payment we make before we receive notice of the assignment at our Home Office. The assignment is
subject to any policy debt.

PREMIUM PAYMENTS

The first premium is due on or before the Policy Date. Premiums after the first are payable to us in
advance at our Home Office. Premiums can also be paid to an authorized agent who will give you our
signed receipt.

Planned Periodic Premiums

The planned periodic premium payment for this policy is shown on the Policy Data Page.

You can change the frequency and increase or decrease the amount of the planned periodic premium
payment at any time subject to the Guideline Premium Limitation provision.

Unscheduled Premiums

You can make additional premium payments at any time prior to the maturity date subject to the
Guideline Premium Limitation provision.

Guideline Premium Limitation

At any time while this policy is in effect, the total of all premiums paid cannot exceed the guideline
premium limitation for this policy. The Guideline Premium Limitation is, the greater of:

e the Single Premium Limitation for this policy shown on the Policy Data Page; or

e the Annual Premium Limitation for this policy shown on the Policy Data Page, multiplied by the
number of years this policy has been in effect.

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If the application of the guideline premium limitation would result in the payment of a premium
insufficient to keep this policy in effect to the next policy anniversary, the guideline premium limitation
will be increased. The amount of the increase will be such that you may pay that premium which
together with the surrender value on the date of payment, will maintain this policy in effect to the next

policy anniversary.

If a premium is paid that results in the total of all premiums paid exceeding the guideline premium
limitation for this policy, we will return the amount of the overpayment to you with interest at a rate not
less than 5% per year. This payment will be made by us not later than 30 days after the end of the

policy year in which overpayment was made.

No-Lapse Conditions

This policy will not end as long as the surrender value on a monthly anniversary day is sufficient to
cover the monthly deduction for the next month. Even if this condition is not met, this policy will not
end during a no-lapse period if the applicable conditions described below are met.

The no-lapse period is a five-year period that goes into effect on the policy date. This policy will not
end during the no-lapse period if the total of all premiums received as of each anniversary day are

not less than (1) plus (2) plus (3) where:

(1) is the minimum monthly premium as shown on the Policy Data Page, times the number of
monthly anniversary days which have occurred starting with the policy date;

(2) is the current policy debt; and

(3) is the amount of cash value surrendered since the policy date.

Grace Period

If a no-lapse period is not in effect and the surrender value on a monthly anniversary day is not
sufficient to cover the monthly deduction for the next month, a 61 day grace period will be allowed for
you to pay a premium sufficient to cover the monthly deductions to the next monthly anniversary day.
The surrender value and monthly deductions are described in the Cash Value Benefits for You
section. If the required premium is not paid within the grace period, this policy will end without value
at the end of the 61 day grace period.

If a no-lapse period is in effect, a 61 day grace period will go into effect on a monthly anniversary
day on which (1) the surrender value is not sufficient to cover the monthly deduction for the next
month and (2) the applicable no-lapse conditions are not met. See No-Lapse Conditions. If the
required premium is not paid within the grace period, this policy will end without value at the end of

the 61 day grace period.

We will give you at least 30 days written notice mailed to your last known address that the policy is to
end when the grace period expires unless the required premium is paid.

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How to Reinstate This Policy

lf the grace period expires without sufficient funds being paid, you may request reinstatement of this
policy. You must do this within five years after the expiration of the grace period.

lf reinstatement is approved, coverage will become effective on the date of the approval.

You'll have to provide evidence satisfactory to us that the Insured's insurability has not changed since
this policy was issued. You'll also have to pay a minimum premium sufficient to keep this policy in
force for two months.

The length of any period during which a surrender charge will apply and the amounts of any
remaining surrender charges will be the same on the date of reinstatement as on the date of lapse.

If applicable no-lapse conditions are not met and this policy lapses during a no-lapse period, this
period will be suspended on the date of lapse. It will resume on the date of reinstatement.

DEATH BENEFIT

We'll pay the death benefit to the Beneficiary. The death benefit is payable as provided in this policy
from our Home Office when we receive due proof that the Insured has died while the policy is in

effect.

Determining the Death Benefit

1. You can determine if the cash value is included in the Specified Amount for the Insured from the
Policy Data Page. Upon the death of the Insured, the death benefit will include:

(a) the Specified Amount on the date of death if the Specified Amount for the Insured shown
on the Policy Data Page includes the cash value.

(b) the Specified Amount plus the cash value on the date of death if the Specified Amount for
the Insured shown on the Policy Data Page does not include the cash value.

The amounts determined in (a) and (b) above, if less than a specified percentage of the cash value
on the date of death, will be increased to the specified percentage. The specified percentage is
based on the age of the Insured at death and equals the percentage shown in the Table of Cash

Value Percentages.
2. The death benefit payable upon the death of the Insured will be the amount calculated above in
step 1:

e reduced by any policy debt.
e reduced by any overdue monthly deductions if death occurs during the grace period
e increased by any insurance provided by rider.

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POLICY CHANGE PROVISIONS

Changes to the Death Benefit

After the first policy anniversary, you may increase or decrease the death benefit by written request to
us. Certain conditions will apply to your request:

A decrease will become effective on the monthly anniversary day next following the day we
receive your request. We will provide a revised Policy Data Page upon such a change. A
decrease in the death benefit will reduce coverage in the following order:

(a) against the most recent increase in the death benefit;
(b) against the next most recent increases successively; and
(c) against the benefit provided for in the original application.

The Specified Amount of this policy after any requested decrease must be not less than
$50,000.

If you request an increase in the death benefit, you'll have to provide evidence of insurability
satisfactory to us. You must apply for the increase in the death benefit. If approved, the
increase in the death benefit will take effect on the date shown on the revised Policy Data
Page provided by us.

If the Specified Amount for the Insured does not include the cash value, you may request that
it be changed to include the cash value. The change will take effect on the monthly
anniversary day next following the day we receive your request. We will provide a revised
Policy Data Page upon such a change.

if the Specified Amount for the Insured includes the cash value, you may request that it be
changed to not include the cash value. In this event, the Specified Amount will be reduced to
equal the death benefit in effect when the change is made less the cash value. The change will
take effect on the monthly anniversary day next following the day we receive your request. We
will provide a revised Policy Data Page upon such a change.

Cost of Living Benefit Increase

If the Insured is in a standard premium class, beginning on the second Policy Anniversary the
Specified Amount for the Insured will increase automatically to reflect changes in the All Urban
Consumer Price Index (CPI). This index is determined monthly by the United States Department of

Labor.

The increase in the Insured's Specified Amount will take effect on every second policy anniversary
occurring before the later of:

the Insured's 56th birthday; or
the fifth Policy Anniversary.

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You will receive information on the amount of each increase before it is to take effect. You may elect
in writing before the applicable Policy Anniversary not to accept the increase. If you do, no future
automatic increases will be offered to you. No increase will occur if the amount of the increase is less
than $500.00.

The amount of each increase will be the lesser of:
e the calculated increase (determined as below); and

e $30,000.

The calculated increase will be determined by multiplying the Specified Amount for the Insured by an
increase factor equal to:

(CPI 6 months prior to the Increase Date/
CPI 30 months prior to the Increase Date) -1.00

The total of all increases in the Specified Amount for the Insured as a result of this automatic option
cannot exceed $200,000. We will provide a revised Policy Data Page upon such a change.

The increase in the Specified Amount for the Insured will take effect on the applicable policy
anniversary, subject to the payment of the cost of insurance for the first month following the increase.
The monthly cost of insurance (see Cost of {nsurance) will be increased to reflect the increase in the
Specified Amount for the Insured.

CASH VALUE BENEFITS FOR YOU

This policy has cash value benefits while the Insured is alive. These benefits may be used by you.
When you pay the first premium for this policy, your cash value benefits will start.

The surrender value at any time equals the cash value of the policy less any policy debt, less any
surrender charge.

You Can Return the Policy for Cash

This policy can be returned with a written request for its surrender value. The policy will end when we
pay this amount. We can delay payment for up to six months after we receive your request.

On each monthly anniversary day, the cash value of the policy equals (a) plus (b) plus (c) minus (d)
minus (e) where:

(a) is the cash value on the previous Monthly Anniversary Day.

(b) is one month's interest on (a).

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(c) is not less than 90% of all premiums received since the previous Monthly Anniversary
Day.

(d) is the Monthly Deduction for the month preceding the Monthly Anniversary Day.

(e) is one month's interest on (d).

On any day other than a Monthly Anniversary Day, the cash value will be the cash value as of the
previous Monthly Anniversary Day plus all premiums received since then, less an amount not to
exceed 10% of those premiums, less the Monthly Deductions for the month following the preceding
Monthly Anniversary Day.

The surrender value of this policy within thirty days after a Policy Anniversary will not be less than the
surrender value on the Policy Anniversary, reduced by any policy debt or partial surrenders made
since the Policy Anniversary.

Surrender Charge

This policy has a surrender charge in policy years 1 through 15. The charge is calculated as (1) plus
(2) where:

(1) A charge per $ 1,000 of the initial Specified Amount of this policy as shown in the table below.

(2) A percentage as shown below of the excess interest credited over the last 12 months. The
excess interest to which this percentage is applied will not exceed the amount calculated
based on payment of the target premium at the beginning of each policy year. The target
premium for this policy is shown on the Policy Data Page.

Surrender Charge per $1,000 Percentage Applied
Policy Year Of Initial Specified Amount To Excess Interest
of Surrender Issue Age Range All Issues

0-19 20-29 30-34 35-39 40-75 76-80

1-10 12.00 14.00 16.00 18.00 20.00 20.00 100%
11 10.80 12.60 14.40 16.20 18.00 16.00 90
12 9.60 11.20 12.80 14.40 16.00 12.00 80
13 8.40 9.80 11.20 12.60 14.00 8.00 70
14 7.20 8.40 9.60 10.80 12.00 4.00 60
15 6.00 7.00 8.00 9.00 10.00 0 50
16 & Later 0 0 0 0 0 0 0

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Interest Rate

We guarantee interest at a rate of 40741 percent per month, compounded monthly, in the calculation
of the cash values. This is the same as an interest rate of 5 percent per year, compounded yearly.
Interest in excess of the guaranteed rate may be credited to the cash value at a rate declared by us in
a manner we determine. However, we will not credit interest in excess of .40741 percent per month,
compounded monthly, to that part of the cash value which equals any policy debt. (See You Can
Borrow Money Against This Policy).

Monthly Deductions
The monthly deduction for any month equals (a) plus (b) where:

(a) is the cost of insurance (See Cost of Insurance) and the cost of additional benefit
provided by rider.

(b) is a policy fee of $5.00 per month.

Cost of Insurance

We will determine the monthly cost of insurance on each Monthly Anniversary Day based on the age
of the Insured on the last Policy Anniversary.

in determining the monthly Cost of Insurance for the Insured, we first calculate (a) multiplied by an
amount equal to (b} minus (c), where:

(a) is the cost of insurance rate (see Cost of Insurance Rates).

(b) is the death benefit at the beginning of the month, divided by 1.0040741 (see Death
Benefit).

(c) is the cash value, less any policy debt at the beginning of the month.

The monthly Cost of Insurance for the Insured equals the above result divided by $1,000.

Cost of Insurance Rates

The monthly Cost of Insurance rate is based on the sex, age (on the last Policy Anniversary) and
premium class of the Insured. We can change the Cost of Insurance rates at any time. Any change
in the Cost of Insurance rates will be applied uniformly to all insureds of the same age, sex and
premium class whose policies have been in effect for the same length of time. Rates will be based on
our expectation of future mortality, interest, expenses and lapses. However, we cannot increase the
Cost of Insurance rates over those in the Table of Guaranteed Maximum Monthly Cost of Insurance
Rates shown on the Policy Data Page.

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Continuation of Coverage

lf the premium payments are not made as planned, this policy and any riders will remain in effect as
provided in the Grace Period provision. In any case, the policy will not continue beyond the maturity
date and a rider will not continue beyond its expiry date.

Basis of Cash Values

Minimum cash values are based on the Table of Guaranteed Maximum Monthly Cost of Insurance
Rates shown on the Policy Data Page with interest at 5% per year, compounded yearly. If this policy
is a juvenile (ages 0-14) issue, it will be classified as a nonsmoker for the duration of the policy, and
the minimum cash values will be based on the Table of Guaranteed Maximum Monthly Cost of
Insurance Rates shown on the Policy Data Page with interest at 5% per year, compounded yearly.
We have filed a detailed statement of the method used to compute cash value benefits with the state
where this policy was delivered. All values are not less than those required by the laws of the state.

Partial Surrender

You may partially surrender this policy for cash at any time. You must request the partial surrender in
writing. The amount of the partial surrender will not exceed the surrender value and will be deducted
from the cash value. Also, the death benefit for the Insured will be reduced by the amount of the
partial surrender.

We will charge a fee of $25.00 for each partial surrender. We may also defer payment of any partial
surrender for up to six months after we receive your request except for any portion to be used to pay
premiums on policies with us.

You Can Borrow Money Against This Policy

You can borrow money against this policy up to an amount not to exceed its surrender value. We can
delay making the loan for up to six months after we receive your request, except for a loan to pay
premiums on a policy with us.

Loan interest will not exceed an annual rate of 8% and is added to the loan balance at the end of
each policy year while the loan is outstanding. We will not increase the loan rate more than once in a
12 month period. If you have any policy debt outstanding, we will give you 30 days notice before any
loan interest rate change. Any interest not paid will become part of the loan and will accrue interest.

We call the total amount of all outstanding loans (with accrued interest) the policy debt. You can
repay the policy debt in part or in full at any time while the Insured is alive, and this policy is in effect.
The minimum loan repayment is $5.00. If you do not pay the loan or interest, your policy will still
remain in effect as long as the total policy debt does not exceed the cash value less the surrender
charge of this policy and until 30 days after we have mailed notice of termination to your last

known address.

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As indicated in the Interest Rate provision, we will not credit interest in excess of the guaranteed rate
to that part of the cash value which equals any policy debt.

Any policy debt at the Insured's death will reduce the death benefit payable under this policy. See
Death Benefit.

Projection of Benefits and Values

We will provide a projection of illustrative future death benefits and cash values at any time upon a
change in the Policy Data Page or upon written request by you. The illustration will be based on (1)
assumptions as to Specified Amount(s), death benefit amount(s) and future premium payments, as
may be specified by you, and (2) such other assumptions as are necessary and specified by us and/
or you.

PAYMENT PLANS

While the Insured is alive, you can choose how the proceeds will be paid by selecting a payment
plan. If no plan is chosen before the Insured's death, the Beneficiary can choose a plan. The
Beneficiary must do this within six months of the Insured's death. If no payment plan is chosen,
proceeds will be payable in a single sum. Proceeds will be payable to the recipient under the chosen
plan.
We'll also pay the proceeds in a single sum if:

e the proceeds are less than $ 1,000;

e the recipient is not a natural person (for example, a corporation is not a natural person);

e you change the beneficiary after you choose a payment plan; or

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